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                                                                              APPENDIX G

                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

       JAMES EVERETT SHELTON                :
                                            :
               V.                           :                     Civil Action
                                            :                     No: 2:18-cv-03723-JDW
     FCS CAPITAL LLC, et al.                :

                            DISCLOSURE STATEMENT FORM

Please check one box:

xX
✔
              The nongovernmental corporate party, FCS CAPITAL, LLC
               , in the above listed civil action does not have any parent corporation and
               publicly held corporation that owns 10% or more of its stock.

              The nongovernmental corporate party,
               , in the above listed civil action has the following parent corporation(s) and
               publicly held corporation(s) that owns 10% or more of its stock:




       10/24/2019                                /s/ Joshua L. Thomas
         Date                                             Signature

                             Counsel for:       FCS CAPITAL, LLC


Federal Rule of Civil Procedure 7.1 Disclosure Statement
     (a)    W HO MUST FILE; CONTENTS. A nongovernmental corporate party must file
            two copies of a disclosure statement that:
            (1)    identifies any parent corporation and any publicly held corporation
                   owning10% or more of its stock; or

               (2)    states that there is no such corporation.

         (b) TIME TO FILE; SUPPLEMENTAL FILING . A party must:
                (1)    file the disclosure statement with its first appearance, pleading,
                       petition, motion, response, or other request addressed to the court;
                       and
                (2)    promptly file a supplemental statement if any required information
                       changes.
